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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 STATE OF DELAWARE, DEPARTMENT                  )
 OF NATURAL RESOURCES &                         )
 ENVIRONMENTAL CONTROL,                         )
                                                )
                Plaintiff,                      )       Case No.: 1:18-cv-00838-VAC-CJB
                                                )
           v.                                   )
                                                )
 MOUNTAIRE FARMS OF DELAWARE,                   )
 INC., a Delaware Corporation,                  )
                                                )
                Defendant.                      )

                PLAINTIFF’S RESPONSE TO MOTION TO INTERVENE

       Plaintiff, State of Delaware, Department of Natural Resources and Environmental

Control (“DNREC”), by and through its undersigned counsel, hereby opposes the Motion to

Intervene filed by Gary and Anna-Marie Cuppels, and over 690 other residents and property

owners, (the “Movants”) on June 29, 2018. (D.I. 4). In support thereof, Plaintiff states as

follows:

                             INTRODUCTION & BACKGROUND

       DNREC commenced this enforcement action against Mountaire Farms of Delaware, Inc.

(“Mountaire”), on June 4, 2018 (D.I. 1). In its complaint, DNREC alleges two counts that

Mountaire violated the Resource Conservation and Recovery Act (“RCRA”) and one count that

it violated the Clean Water Act (“CWA”). (DNREC’s Federal Court action is referred herein as

the “Federal Case”).

       DNREC also commenced a parallel enforcement action in the Superior Court of the State

of Delaware against Mountaire on June 4, 2018, in which DNREC asserts that Mountaire

violated Delaware environmental statutes and regulations. (Exhibit A, State Court Complaint,



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C.A. No.: S18M-06-002 RFS). (DNREC’s State Court action is referred to herein as the “State

Case”).

          DNREC filed contemporaneously with its complaint in the State Case a Proposed

Consent Decree between DNREC and Mountaire.1 (See Exhibit B, Consent Decree). DNREC

and Mountaire spent several months negotiating the Consent Decree, which, among other things,

requires Mountaire to pay a civil penalty and to take corrective measures that will address its

violations of Delaware environmental statutes and regulations, as well as its violations of the

CWA and RCRA that are the basis for the Federal Case. DNREC and Mountaire are seeking

approval and entry of the Consent Decree by the Delaware Superior Court; following entry of the

Consent Decree in the State Case, DNREC and Mountaire anticipate requesting a stay of the

Federal Case while Mountaire satisfies the Consent Decree’s conditions. By filing in both State

and Federal Court, in the event Mountaire fails to comply with the Consent Decree, DNREC can

pursue relief, as appropriate, from either this Court or the Superior Court, thereby bolstering

DNREC’s ability to enforce the Consent Decree, Delaware environmental laws, and Federal

environmental laws.

          The Movants have now sought to intervene in the Federal Case pursuant to Federal Rule

of Civil Procedure 24. Movants’ reason for seeking to intervene in the Federal Case is their

concern that the Federal Case “may be dispositive of the [Movants’] ability to proceed with their

own claims under RCRA and the CWA, resulting in a clear threat that their interests may be

impaired.” (D.I. 4, pg 3). Moreover, if permitted to intervene, as stated in their Complaint in

Intervention filed as Exhibit A with their Motion, Movants seek, among other relief, a



1
  Movants have also sought to intervene in the State Case. The Delaware Superior Court
recently issued a Briefing Schedule on Movants’ Motion to Intervene in the State Case, with
briefing concluding on September 10, 2018.

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declaration that DNREC is not diligently prosecuting Mountaire’s violations of the CWA and

RCRA.

        Movants’ Motion and accompanying complaint, however, demonstrate that Movants’

reason for seeking to intervene in DNREC’s Federal Case is to insert themselves into DNREC’s

enforcement action to advance their own purposes. Rule 24, the CWA, and RCRA, however, do

not permit intervention where private parties seek to utilize an agency’s enforcement action for

their own goals. Therefore, Movants’ Motion should be denied.

                                            ARGUMENT

        Movants assert three grounds for intervention: (1) intervention is appropriate under Rule

24(a)(1), because they claim they have an unconditional statutory right to intervene under the

CWA and RCRA; (2) that intervention is appropriate under Rule 24(a)(2); or (3) that the Court

should permit intervention under Rule 24(b). Movants’ Motion should be denied, however, as

Movants have failed to carry their burden of demonstrating that they are entitled to intervene in

this action as a matter of right under Rule 24(a), and the Court should not permit their

intervention under Rule 24(b).

        A.     The CWA and RCRA do not confer an unconditional statutory right to
               intervene in the Federal Case.

        Movants claim that they should permitted to intervene under Rule 24(a)(1), because they

have an “unconditional statutory right to intervene in this litigation” pursuant to section

1365(b)(1)(B) of the CWA and section 6972(b)(1)(B) of RCRA. Movants, however, offer no

citations to support their interpretation that the CWA and RCRA provide an “unconditional

statutory right to intervene in this litigation,” and case law interpreting the right to intervene




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under Federal environmental statutes provide that the right to intervene under these acts is

limited.2

       Case law interpreting the citizen suit provision of Federal environmental statutes,

including the CWA and RCRA, provide that a citizen’s right to intervene in an enforcement

action is limited to those enforcement actions that have the effect of barring the citizen from

bringing its own citizen suit to enforce the applicable Federal environmental act.3 The Ninth

Circuit Court of Appeals recently noted, “Every circuit to consider the Clean Air Act’s right of

intervention—or the identically worded provisions in other environmental statutes . . . has

reached the same result . . . that ‘[i]ntervention is limited to government initiated actions that

could have been brought by the individual but for the government action.’”4 Additionally, in

United States v. Encycle/Texas, Inc., the District Court for the Southern District of Texas stated

that RCRA allows intervention as a matter of right only when the government agencies are not

diligently prosecuting the action.5



2
  See United States v. Hooker Chemicals & Plastics Corp., 749 F.2d 968, 978 (2d Cir. 1984)
(“Intervention is limited to government initiated actions that could have been brought by the
individual but for the government action.”); In re Volkswagen "Clean Diesel" Mktg., Sales
Practices, & Products Liab. Litig., 2018 WL 3235533, at *7 (9th Cir. July 3, 2018) (“The phrase
‘any person’ in the intervention clause might appear to broaden the grant of intervention beyond
simply those ‘citizens who would otherwise bring private enforcement actions,’ but are
precluded from doing so by the government’s action. . . . . But whether ‘any’ has that import in a
particular statute ‘necessarily depends on the statutory context.’ Here, that context—and the
other words of the provision—cabin ‘any person’ to those whose suits were barred by the
diligent prosecution bar.” (Internal citations omitted)).
3
  The citizen suit provision of Federal environmental statutes permit a citizen to bring an action
to enforce the act, unless EPA or a State has commenced and is diligently prosecuting a civil
action in a court of the United States or a State to require compliance with the relevant act. See
CWA § 1365; RCRA § 6972. This bar on citizen suits where a government is diligently
prosecuting a violator is commonly referred to as the “diligent prosecution bar.”
4
  In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Products Liab. Litig., 2018 WL
3235533, at *7 (9th Cir. July 3, 2018) (internal citations omitted).
5
  “The intervenors' primary purpose in seeking to intervene is to contest some of the penalties
and remedial measures to which the parties agreed in the proposed Consent Decree. The

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        Movants’ have not satisfied their burden of showing they are entitled to intervene as a

matter of right in the Federal Case under the CWA’s or RCRA’s citizen suit provisions.

Movants’ seek this Court’s declaration that DNREC is not diligently prosecuting Mountaire in

their Complaint in Intervention, even though the Acts only permit intervention where the

enforcement action bars the citizen’s suit. Movants’ request that the Court find that DNREC is

not diligently prosecuting its enforcement action against Mountaire is contrary to its assertion

that it may intervene in DNREC’s enforcement action under the CWA and RCRA.

        Movants’ misplaced reliance on the CWA and RCRA as a basis to intervene in this action

further demonstrate that Movants’ interest in intervening in this action is not enforcing the CWA

and RCRA, but rather to advance their own private claims against Mountaire. However, the

citizen suit provision of the CWA and RCRA are not intended to permit private plaintiffs to

bring their own claims against a defendant or utilize an agency’s enforcement action for their

own purposes.6 The Court should therefore deny Movants’ Motion to Intervene in this action.

        B.      Movants have failed to establish their right to intervene Under Rule 24(a)(2).

        Movants also claim they have a right to intervene pursuant to Rule 24(a)(2), which

provides for intervention as a matter of right if: (1) Movants have a sufficient interest in the

litigation; (2) “a threat that the interest will be impaired or affected, as a practical matter, by the

disposition of the action;” and (3) that its interest is not adequately protected by the existing




intervenors have no right to block the settlement of a diligently prosecuted action brought under
RCRA. The court concludes [RCRA] allows intervention as a matter of right only when the
government agencies are not diligently prosecuting the action.” United States v. Encycle/Texas,
Inc., 1999 WL 33446875, at *2 (S.D. Tex. Aug. 2, 1999).
6
  “Taken as a whole, the statutory architecture indicates that ‘the citizen suit is meant to
supplement rather than to supplant governmental action.’” In re Volkswagen "Clean Diesel"
Mktg., Sales Practices, & Products Liab. Litig., 2018 WL 3235533, at *6 (9th Cir. July 3, 2018)
(quoting Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found., Inc., 484 U.S. 49, 60 (1987).

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parties to the litigation. Movants’ Motion, however, fails to establish their right to intervene,

because Movants’ interests are distinguishable from DNREC’s enforcement action.

       Movants state in their Motion that DNREC’s Federal Case may be dispositive of their

ability to proceed with their own claims under RCRA and CWA, which they assert results in a

clear threat that their interests may be impaired. (D.I. 4, pg. 3). Movants, however, never

describe their interests with specificity, but their Complaint in Intervention demonstrates that

their interests stem from their private claims against Mountaire, not enforcing the CWA and

RCRA.7 8 Conversely, DNREC’s interest in this litigation is enforcing the CWA, RCRA, and

Delaware environmental laws. To the extent Movants’ interests may overlap with DNREC’s

interest in enforcing the CWA and RCRA, DNREC is adequately representing those interests by

pursuing the Federal Case and State Case against Mountaire.9




7
  See Natural Res. Def. Council, Inc. v. N.Y. Dep’t of Envtl. Conservation, 834 F.2d 60, 61-62
(2nd. Cir. 1987) (Holding that an intervenor does not have an interest in the litigation for
purposes of Rule 24 simply because it has a different motive or disagrees with the parties’
litigation strategy).
8
  Movants have also filed a Class Action Complaint in the Superior Court of the State of
Delaware against Mountaire. (Exhibit C, Class Action Complaint, C.A. No.: S18C-06-009
RFS). Movants sought relief in its Class Action Complaint is nearly identical to the relief it
seeks in its Complaint in Intervention.
9
  As noted above, citizen suits are intended as a means to enforce Federal environmental laws
where the EPA or a State has not taken action. The purpose of the citizen suit provision is to
provide an alternative means of enforcing the relevant Federal environmental act, not litigating
private parties’ disputes. And where the government is diligently prosecuting the matter, the
citizen suit is barred, because the government is adequately representing the citizens’ interests in
enforcing the law. United States v. City of New York, 198 F.3d 360, 367 (2d Cir. 1999) (“The
proponent of intervention must make a particularly strong showing of inadequacy in a case
where the government is acting as parens patriae. Representation is not inadequate simply
because ‘the applicant would insist on more elaborate . . . pre-settlement procedures or press for
more drastic relief.’”) (quoting United States v. Hooker Chems. & Plastics Corp., 749 F.2d 968,
985 (2d Cir. 1984)); Mausolf v. Babbitt, 85 F.3d 1295, 1303 (8th Cir. 1996) (“Usually, Rule
24(a)’s third criterion is easy to satisfy, and the would-be intervenor faces a minimal burden of
showing that its interests are not adequately represented by the parties. But when one of the
parties is an arm or agency of the government, and the case concerns a matter of sovereign

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        Movants’ request to intervene pursuant to Rule 24(a)(2) should be denied, because:

Movants’ interests in enforcing the CWA and RCRA are adequately represented by DNREC, and

Movants interests apart from enforcing the CWA and RCRA are unrelated to this litigation.

        C.     The Court should not permit Movants intervention under Rule 24(b).

        Movants also attempt to rely on Rule 24(b)’s permissive intervention. Under Rule 24(b),

the Court has broad discretion to permit or deny a motion to intervene, but the Court should deny

intervention where the intervention will cause undue delay or expand the scope of the existing

litigation.

        Here, Movants’ intervention will only serve to delay DNREC’s enforcement efforts and

implementation of the Consent Decree. Movants’ seeks this Court’s declaration that DNREC is

not diligently prosecuting Mountaire’s violations of RCRA and the CWA, thus Movants hope to

reopen a Consent Decree that DNREC and Mountaire have spent months negotiating.10

Furthermore, Movants seek to expand the scope of DNREC’s enforcement action by seeking

remedies to compensate Movants’ claimed damages. These are not appropriate reasons to permit

Movants’ intervention, and the Court should deny Movants’ Motion.

        D.     Intervention does not entitle Movants to participate in DNREC’s
               enforcement action.

        As a final matter, if the Court grants Movants’ Motion, DNREC requests that the Court

limit Movants’ right to participate in these proceedings. As noted in the advisory committee

notes to Rule 24, “[a]n intervention of right under the amended rule may be subject to




interest, the bar is raised, because in such cases the government is presumed to represent the
interests of all its citizens”) (internal quotation marks omitted) (emphasis in original).
10
   United States EPA v. City of Green Forest, Ark., 921 F.2d 1394, 1402 (8th Cir. 1990) (“Had
the citizens intervened, they still would not have been able to compel a consent decree on their
own terms.”).

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appropriate conditions or restrictions responsive among other things to the requirements of

efficient conduct of the proceedings.” (Fed.R.Civ.P. 24 advisory committee's note).

       In the context of intervention in a government enforcement action, limiting an

intervenor’s participation in the proceedings is particularly appropriate where the government

has negotiated a settlement with the violator.11 In United States v. DeKalb Cty., Ga., the District

Court for the Northern District of Georgia explained:

       In granting a citizen the right to bring an action or intervene where the EPA or a
       state is prosecuting an action, the CWA does not intend “to enable citizens to
       commandeer the federal enforcement machinery.” Dubois v. Thomas, 820 F.2d
       943, 949 (8th Cir.1987); see also United States EPA v. City of Green Forest,
       Ark., 921 F.2d 1394, 1402 (8th Cir.1990). While citizens are given a right to
       intervene, the CWA does not give them an unconditional right to participate in the
       proceedings. United States v. Lexington–Fayette Urban Cnty. Gov't, No. 06–386–
       KSF, 2007 WL 2156543, at *2 (E.D.Ky. July 24, 2007). “[I]t is appropriate for the
       Court to impose limitations on the Intervening Plaintiffs' participation in the suit,
       particularly in light of the [CWA's] inherent preference for administrative
       enforcement       actions      over      citizen     enforcement      actions.” Id.12

       In recognition that the “choice to settle with a violator remains within a government

agency’s discretion,” and that “the government is presumed to represent the interests of all its

citizens,” DNREC respectfully requests that this Court limit Movant’s participation in these

proceedings to the extent the Court permits Movants to intervene.




11
   “The choice to settle with a violator remains within a government agency's discretion, ‘even if
citizens might have preferred more stringent terms than those determined by the government to
be appropriate.’” Citizens For Clean Power v. Indian River Power, LLC, 636 F. Supp. 2d 351,
357 (D. Del. 2009) (citing Clean Air Council v. Sunoco, Inc. (R&M), 2003 WL 1785879 at *6
(D.Del Apr. 2, 2003)).
12
   United States v. DeKalb Cty., Ga., 2011 WL 6369569, at *9 (N.D. Ga. Oct. 11, 2011).


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                                       CONCLUSION

        The Court should deny Movants’ Motion to Intervene, because Movants should not be

permitted to utilize DNREC’s enforcement action as a means to assert their own claims against

Mountaire. Furthermore, if the Court permits Movants to intervene, the Court should limit

Movants’ participation in these proceedings to ensure efficient enforcement of the CWA and

RCRA.



                                                    Respectfully Submitted,

                                                   STATE OF DELAWARE
                                                   DEPARTMENT OF JUSTICE


                                                   /s/ William J. Kassab
                                                   Devera B. Scott (Bar Id. No. 4756)
                                                   William J. Kassab (Bar Id. No. 5914)
                                                   Deputy Attorneys General
                                                   102 West Water Street
                                                   Dover, Delaware 19904
Dated: July 13, 2018                               302-739-4636
                                                   Devera.Scott@state.de.us
                                                   William.Kassab@state.de.us

                                                   Attorneys for Plaintiff,
                                                   State of Delaware, Department of Natural
                                                   Resources & Environmental Control




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